

Matter of Blumstein (2018 NY Slip Op 08410)





Matter of Blumstein


2018 NY Slip Op 08410


Decided on December 6, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 6, 2018


[*1]In the Matter of ANDREE KAHN BLUMSTEIN, an Attorney. 
(Attorney Registration No. 2208924)

Calendar Date: December 3, 2018

Before: McCarthy, J.P., Devine, Mulvey, Rumsey and

	 Pritzker, JJ.

Andree Kahn Blumstein, Nashville, Tennessee, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Andree Kahn Blumstein was admitted to practice by this Court in 1988 and lists a business address in Nashville, Tennessee with the Office of Court Administration. Blumstein now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion as to the disposition of Blumstein's application.
Upon reading Blumstein's affidavit sworn to September 7, 2018 and filed September 10, 2018, and upon reading the November 29, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Blumstein is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
McCarthy, J.P., Devine, Mulvey, Rumsey and Pritzker, JJ., concur.
ORDERED that Andree Kahn Blumstein's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Andree Kahn Blumstein's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Andree Kahn Blumstein is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Blumstein is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to [*2]another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Andree Kahn Blumstein shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








